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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

HUMANE SOCIETY INTERNATIONAL, )
                                   )
             Plaintiff,            )
                                   )
                     v.            )
                                   )
UNITED STATES FISH AND WILDLIFE )
SERVICE, et al.,                   )                 Civil Action No. 16-720 (RBW)
                                   )
                                   )
             Defendants,           )
                                   )
and                                )
                                   )
SAFARI CLUB INTERNATIONAL,         )
                                   )
             Defendant-Intervenor. )
                                   )

       WITHDRAWAL AS ATTORNEY OF RECORD FOR SAFARI CLUB
              INTERNATIONAL BY DOUGLAS S. BURDIN

       The undersigned attorney, Douglas S. Burdin, withdraws as attorney of record for

defendant-intervenor Safari Club International (“Safari Club”). Attorney of record Anna M.

Seidman will continue to represent Safari Club in this case.

Dated this 29th day of March, 2019.
                                             Respectfully submitted,

                                             /s/ Douglas S. Burdin
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                                                       Attorneys for Defendant-Intervenor Safari
                                                       Club International



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